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                    IN THE UNITED STATES DISTRICT COURT I
                            EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division


UNITED STATES OF AMERICA


                                                         No. l:18-cr-0042 (LO)

GARY A. DUFF,

               Defendant.



                                  CRIMINAL INFORMATION


                                              Count 1


             (Conspiracy to Defraud the United States and Commit Wire Fraud)

       THE UNITED STATES ATTORNEY CHARGES THAT:


        1.     From in or about March 2011, and continuing thereafter until at least in or about

March 2016, in the Eastern District of Virginia and elsewhere, the defendant, GARY A. DUFF

("DUFF"), and others known and unknown to the investigation, including STEVEN J. GRAVES

("GRAVES"), willfully, knowingly, and unlawfully conspired:

               a.      To defraud the United States of money and property and the right to

control the disposition of its assets, that is: (1) the issuance of contracts and purchase orders

obligating the United States and the U.S. Department of State ("DoS") to pay for goods and

services; (2) payments made pursuant to the contracts and purchase orders; and (3) control over

how the United States and the DoS spent the funds allocated for the work covered by the

contracts and purchase orders, in violation of 18 U.S.C. § 371;

               b.      To defraud the United States by impairing, impeding, obstructing, and

defeating the DoS's lawful government functions, including the DoS's procurement of supplies
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